     Case: 1:18-cv-01940 Document #: 14 Filed: 07/16/18 Page 1 of 1 PageID #:35


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


 Case Title: TRAVIS NOLAN v DEVILLE                    Case Number: 18-CV-01940
 ASSET MANAGEMENT, LTD

An appearance is hereby filed by the undersigned as attorney for:
De Ville Asset Management, Ltd.,

Attorney name (type or print): Phillip W. Rehani

Firm:     O'Hagan Meyer LLC

Street address:         One East Wacker Drive, Suite 3400

City/State/Zip:     Chicago, Illinois 60601

 Bar ID Number: 6309981                                Telephone Number:           (312) 422-6100
 (See item 3 in instructions)

Email Address: prehani@ohaganmeyer.com

Are you acting as lead counsel in this case?                                     Yes           No

Are you acting as local counsel in this case?                                    Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on July 16, 2018

Attorney signature:        S/ Phillip W. Rehani
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                           Revised 8/1/2015
